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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


IN RE:
                                                        CASE NO: 18-35672
WESTMORELAND COAL COMPANY, et al.,                      CHAPTER 11

                                   DEBTORS              JOINTLY ADMINISTERED




 MAR-BOW VALUE PARTNERS, LLC’S EMERGENCY MOTION TO QUASH THE
  SUBPOENA DUCES TECUM AND AD TESTIFICANDUM TO REED BRODKSY


    THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
    YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
    CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
    AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
    RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
    FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
    THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
    MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
    RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
    NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT
    REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
    UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
    CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
    MOTION AT THE HEARING.

    REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

    EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
    CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU WILL
    HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO THE
    REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY
    CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN
    IMMEDIATE RESPONSE.
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TO THE HON. DAVID R. JONES, CHIEF UNITED STATES BANKRUPTCY JUDGE:

                 Mar-Bow Value Partners, LLC (“Mar-Bow”) respectfully moves the Court to quash

the Subpoena Duces Tecum and Ad Testificandum served on February 21, 2020 by McKinsey

RTS and certain of its affiliates (“McKinsey”) on non-party Reed Brodsky (the “Subpoena”).1 In

support of the Motion, Mar-Bow respectfully states as follows:

                                  PRELIMINARY STATEMENT

                 1.      Pursuant to the Court’s orders, written and document discovery closed on

December 27, 2019, and all discovery closed on January 31, 2020. McKinsey fought for these

firm discovery deadlines and insisted on a tightly compressed deposition schedule. But on

February 21, 2020—well after the close of discovery and almost three weeks after the beginning

of trial—McKinsey served a deposition and document subpoena on non-party Reed Brodsky, an

attorney at Gibson Dunn. McKinsey neither sought the Court’s permission nor conferred with

Mar-Bow or AlixPartners before serving the Subpoena.

                 2.      The Subpoena seeks to depose Mr. Brodsky on March 5, 2020 and contains

five broad document requests relating to the time period of January 1, 2013 to present, including

a request for “any documents related to the ‘Competitive Response’ to McKinsey, as referred to

in   the    redacted    version   of    the   document       bearing   the   beginning   Bates   stamp

AlixPartners_WH_00000001 that was submitted in the Delaware Litigation” (the “Competitive

Response Document”). Exhibit 1, Document Request No. 5.

                 3.      Notably, the Subpoena seeks the same information as a prior McKinsey

request that the Court already denied. Compare Exhibit 1, Document Request No. 5 with Dkt.




1
     The Subpoena is attached to this Motion as Exhibit 1.


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2508-4, Document Request No. 12; see also Dkt. 2594 at 2 (denying “the remainder of Request

No. 12, Documents and Communications related to the ‘Competitive Response Documents’”).

                4.      Without waiving any other objections to the Subpoena, Mar-Bow

respectfully submits that the Subpoena should be quashed for two independent reasons. First, the

Subpoena should be quashed because it is untimely and violates the Court’s orders regarding the

close of discovery. Second, the Subpoena should be quashed because it seeks to end run the

Court’s orders regarding the Competitive Response Document.

                                     STATEMENT OF FACTS

        A.      The Court Orders Discovery Deadlines

                5.      Pursuant to the Court’s orders, written and document discovery closed on

December 27, 2019, and all discovery closed on January 31, 2020. Dkt. 2563; Dkt. 2442,

10/31/2019 Tr. at 81:1-4.

                6.      McKinsey fought for these firm discovery deadlines and insisted on a

tightly compressed discovery schedule. See, e.g., Dkt. 2549, 12/3/2019 Tr. at 7:25-8:3 (Ms. Gay:

“. . . we want to do our best . . . to try to get the depositions in January because we’ve got a February

court date.”); Dkt. 2571, 12/5/2019 Tr. at 38:5-8 (Ms. Selendy: “. . . we wanted to have on the

Record [] that we’re seeking an order from the Court that written and document discovery be

substantially completed by December 20th.”); Dkt. 2553 (proposed discovery deadlines filed by

McKinsey); Dkt. 2738, 1/27/2020 Tr. at 54:11-12 (“Ms. Gay: Well, the depositions are over on

the 31st. I think we know who the deponents are at this point.”).

                7.      In considering McKinsey’s requests for discovery deadlines, the Court

made clear to the parties that it “would be a lot more comfortable in establishing a deadline that

just says, ‘Written and document discovery will be completed by X.’ And then if somebody hasn’t




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complied with that or there is some other issue, then it’s incumbent upon that party to come in

and establish sufficient cause why I should modify a prior order.” Dkt. 2571, 12/5/2019 Tr. at

41:9-15 (emphasis added).

       B.      The Court Orders Limited Production and Testimony Regarding the
               Competitive Response Document

               8.        The Subpoena is not the first time McKinsey has sought documents and

testimony relating to the Competitive Response Document. On November 26, 2019, McKinsey

filed an Emergency Motion to Compel Discovery from AlixPartners, including a request for “All

Documents and Communications related to the ‘Competitive Response Documents.’” Dkt. 2508;

Dkt. 2508-4, Document Request No. 12.

               9.        After an in camera review of the Competitive Response Document, the

Court ordered AlixPartners to produce a limited two and a half page excerpt revealing only “pages

9, 10, and the left-hand column of page 15.” Dkt. 2594 at 2. The Court denied the remainder of

McKinsey’s request for “Documents and Communications related to the ‘Competitive Response

Documents.’” Id.

               10.       Pursuant to the Court’s order, AlixPartners produced on an expedited basis

a   redacted   version     of   Competitive    Response    Document     with   the   Bates   stamp

AlixPartners_WH_00000001.

               11.       In December and January 2020, McKinsey also sought to depose Fred

Crawford and a 30(b)(6) representative of AlixPartners regarding the Competitive Response

Document. Dkt. 2676.

               12.       On January 21, 2020, after briefing and argument, the Court quashed

McKinsey’s request for a 30(b)(6) deposition of AlixPartners and permitted a limited deposition

of Mr. Crawford. Dkt. 2711, 1/21/2020 Tr. 30:6-13.



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               13.     In particular, the court ruled that McKinsey “can inquire of Mr. Crawford

about the two-and-a-half pages. If he says I don’t know, I never heard, then it stops. But you can

ask him about the two-and-a-half pages as well. It seems to me that was the only thing that gave

me pause in what I heard. So that will cover it.” Id. at 30:8-13.

               14.     At the January 21, 2020 hearing, McKinsey’s counsel assured the Court that

“there’s no attempt to go beyond the scope of the ruling on the competitive response document.”

Id. at 30:16-18.

               15.     On January 29, 2020, McKinsey deposed Mr. Crawford and questioned him

about the Competitive Response Document.

       C.      McKinsey Serves a Deposition and Document Subpoena on Non-Party
               Reed Brodsky on February 21, 2020

               16.     McKinsey has been well aware of Mr. Brodsky since 2014, when he

represented AlixPartners in AlixPartners LLP v. Eric Thompson and Ivo Naumann, C.A. 9523-

VCZ (Del. Ch.) (the “Delaware Litigation”).        However, McKinsey did not seek to depose

Mr. Brodsky during the months of discovery in this matter.

               17.     On February 21, 2020—well after the close of discovery and almost three

weeks after the beginning of trial—McKinsey served Mr. Brodsky with a deposition and document

subpoena. The Subpoena seeks to depose Mr. Brodsky on March 5, 2020 at the offices of Selendy

& Gay in New York.

               18.     The Subpoena defines the relevant time period as January 1, 2013 to

present2 and contains five document requests, including a request for “All Documents and

Communications concerning RTS’s entry into the bankruptcy restructuring business, including



2
    Given McKinsey’s refusal to produce documents predating 2014, this time period of more than seven
years underscores the unduly burdensome and harassing nature of the Subpoena’s requests.


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any documents related to the ‘Competitive Response’ to McKinsey, as referred to in the redacted

version of the document bearing the beginning Bates stamp AlixPartners_WH_00000001 that was

submitted in the Delaware Litigation.” Exhibit 1, Document Request No. 5.

               19.     McKinsey neither sought the Court’s permission nor conferred with Mar-

Bow or AlixPartners before serving the Subpoena.

                                       LEGAL STANDARD

               20.     Discovery “has ultimate and necessary boundaries.” Hickman v. Taylor,

329 U.S. 495, 507 (1947). A deposition should be quashed or limited if it “is being conducted in

bad faith or in such a manner as to annoy, embarrass or oppress the person subject to the inquiry

[and] . . . further limitations come into existence when the inquiry touches upon the irrelevant . . .

.” Id. at 508; see also Doe v. Catholic Soc’y of Religious & Literary Educ., No. H-09-1059, 2009

WL 4506560, at *1 (S.D. Tex. Dec. 3, 2009). A court may also, “for good cause, issue an order

to protect a party or person from annoyance, embarrassment, oppression, or undue burden or

expense . . . .” Fed. R. Civ. P. 26(c)(1).

               21.     “Courts in the Fifth Circuit [] recognize Rule 45 non-party subpoenas are

subject to the rules governing discovery, including deadlines set by the Court.” Kelly v. Cowboy’s

Motorsports of San Antonio, LLC, No. SA-12-CA-347-FB, 2013 WL 12345010 at *7-8 (W.D.

Tex. Oct. 15, 2013) (refusing to enforce “untimely” subpoena “served after the close of

discovery”).




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                                         ARGUMENT

I.     THE SUBPOENA SHOULD BE QUASHED BECAUSE IT IS UNTIMELY
       AND VIOLATES THE COURT’S ORDERS REGARDING THE CLOSE
       OF DISCOVERY

               22.    McKinsey’s February 21, 2020 deposition and document Subpoena comes

well after the close of document and written discovery on December 27, 2019 and the close of all

discovery on January 31, 2020. Such a subpoena “served after the close of discovery” is

“untimely” and should not be permitted. Kelly, 2013 WL 12345010 at *8.

               23.    Moreover, McKinsey neither conferred with Mar-Bow or AlixPartners nor

sought the Court’s permission before serving its untimely Subpoena.

               24.    Because McKinsey failed to even attempt to “establish sufficient cause why

[the Court] should modify” its prior discovery orders, the Subpoena should be quashed. Dkt. 2571,

12/5/2019 Tr. at 41:9-15.

II.    THE SUBPOENA SHOULD BE QUASHED BECAUSE IT SEEKS TO END
       RUN THE COURT’S ORDERS REGARDING THE COMPETITIVE
       RESPONSE DOCUMENT

               25.    After the Court, parties, and non-party AlixPartners expended considerable

time and resources on these issues, the Court issued clear orders regarding the permissible scope

of discovery related to the Competitive Response Document. The Subpoena is a brazen attempt

to end run those orders.

               26.    Although the Court already limited the production of documents related to

the Competitive Response Document to the two and a half page excerpt, McKinsey now seeks “All

Documents and Communications concerning RTS’s entry into the bankruptcy restructuring

business, including any documents related to the ‘Competitive Response’ to McKinsey.” Exhibit

1, Document Request No. 5 (emphasis added). This request seeks the same information as the

request the Court already denied. Compare Exhibit 1, Document Request No. 5 with Dkt. 2508-



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4, Document Request No. 12; see also Dkt. 2594 at 2 (denying “the remainder of Request No. 12,

Documents and Communications related to the ‘Competitive Response Documents’”).

              27.    And although the Court already limited the deposition of Mr. Crawford

regarding the Competitive Response Document and quashed McKinsey’s 30(b)(6) deposition

subpoena to AlixPartners, McKinsey now seeks to depose AlixPartners’ attorney regarding the

same topic.

              28.    Because McKinsey seeks to “go beyond the scope of the ruling on the

competitive response document” without seeking the Court’s permission. Dkt. 2711, 1/21/2020

Tr. at 30:16-18, the Subpoena should be quashed.

                                       CONCLUSION

       For all the foregoing reasons, the Court should grant Mar-Bow’s Emergency Motion to

Quash the Subpoena Duces Tecum and Ad Testificandum served by McKinsey on Reed Brodsky.

Respectfully submitted, February 24, 2020.

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                                      Certificate of Service

I certify that on February 24, 2020, I caused a copy of this pleading to be filed through the
Court’s electronic filing system and thereby served all parties registered to receive such service.

                                              /s/ Christopher Murray
                                              Christopher Murray




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